     Case 8-20-08140-reg           Doc 16-2     Filed 06/28/22     Entered 06/28/22 17:39:47




                              Exhibit B to Joint Pretrial Memorandum
                                  (The Defendant’s Witness List)

           The Defendant may call the witnesses below at trial. This list is not a commitment that the

Defendant will call any particular witness at trial, or a representation that any of the witnesses

listed are available or will appear for trial. The Defendant reserves the right to call any witnesses

identified below, and to revise this list in light of further rulings by the Court or any other changed

circumstances. The Defendant further reserves the right to call one or more additional witnesses

for purposes of rebuttal or impeachment, or whose testimony is necessary to establish authenticity

or admissibility of any trial exhibit that is challenged by the Litigation Administrator. The

Defendant identifies as potential trial witnesses any witnesses identified by the Litigation

Administrator.

                                 Witnesses Expected to Be Presented

1.         Brian Ryniker, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the Americas
           New York, NY 10154, 212-451-2300.

2.         Mike Shelton, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the Americas,
           New York, NY 10019, 212-451-2300.

3.         Bob Walters, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the Americas,
           New York, NY 10019, 212-451-2300.

4.         Katie Pritchard, c/o Michael S. Fox and Jonathan T. Koevary, 1325 Avenue of the
           Americas, New York, NY 10019, 212-451-2300.

22167899
